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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 IN RE:                                        §
                                               §
 Jzavela-Arethea Dougherty,                    §       CAUSE NO. 19-30714
                                               §
                                               §       CHAPTER 13
                                               §
                                               §
             Debtor.                           §

                               Uniform Plan and
                        Motion for Valuation of Collateral
                                    CHAPTER 13 PLAN
                                  Date of Plan: 2/19/2019
                   [Date Must be Date that This Plan is Signed by Debtor(s)]

1.     Statement of Inclusion of Specific Provisions. The Debtor(s) propose this Plan pursuant
to 11 U.S.C. § 1321. The Debtor(s) disclose whether this Plan includes certain provisions by
checking the appropriate box:

 Description of Provision                                              Included        Not
                                                                                     Included
 A. A “non-standard” provision contained in Paragraph 29.                           X

 B. A provision limiting the amount of a secured claim based on a                   X
    valuation of the collateral for the claim in Paragraph 11 or 14.

 C. A provision avoiding a security interest or a lien in Paragraph                 X
    8(C).
 D. A provision avoiding a security interest or lien in exempt                      X
    property in Paragraph 15.

2.      Summary Attached. Attached as Exhibit “A” is a summary of the payments to the
Chapter 13 Trustee (“Trustee”) and the estimated disbursements to be made by the Trustee under
this Plan.

3.     Motion for Valuation of Secured Claims. If indicated in Paragraph 1B of this Plan, the
Debtor(s) move to establish the value of the collateral securing claims in the amount set forth in
Paragraphs 11 and 14. The Debtor(s) propose to pay the holder of the Secured Claim only the
amounts set forth in the Debtor(s)’ Plan. The Court will conduct an evidentiary hearing on
this contested matter on the date set for the hearing on confirmation of the Debtor(s)’ Plan.
You must file a response in writing not less than 7 days (including weekends and holidays)
before the hearing on confirmation of the Plan or the valuation set forth in the Plan may be
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adopted by the Court. If no timely response is filed, the Debtor(s)’ sworn declaration at the
conclusion of this Plan will be considered as summary evidence at the confirmation hearing.

4.      Payments. The Debtor(s) must submit all or such portion of their future earnings and other
future income to the supervision and control of the Trustee as is necessary for the execution of the
Plan. The applicable commitment period under the Debtor(s)’ means test is ____ months (use
“unavailable” if a means test has not been filed). The amount, frequency, and duration of future
payments to the Trustee are:

        Beginning          Ending          Total         Monthly            Total     Monthly        Total
         Month1            Month         Amount of       Savings           Forecast   Available   Available for
                                          Monthly         Fund             Savings       for      Creditors and
                                         Payment2        Deposit            Fund      Creditors     Reserve
                                                                           Deposits     and          Funds
                                                                                       Reserve
                                                                                       Funds3
             1           60             $5,160.00       0.00         0.00             $5,160.00 $5,160.00


                                               Grand                 0.00                         $309,600.00
                                               Total:

       A.      If the payments to be made by the Trustee pursuant to Paragraphs 8(A)(ii) or 11(D)
are adjusted in accordance with the Home Mortgage Payment Procedures defined and adopted
pursuant to Bankruptcy Local Rule 3015-1(b) (whether on account of a change in any escrow
requirement, a change in the applicable interest rate under an adjustable rate mortgage, or
otherwise) or in accordance with the procedures set forth in Paragraphs 20(E) or 23(B), the
payments to the Trustee under this Plan will be modified as follows:

           (i)     The Debtor(s)’ payments required by Paragraph 4 of this Plan will be automatically
           increased or decreased by (i) the amount of the increase or decrease in the Paragraph
           8(A)(ii), 11(D), 20(E) or 23(B) payments; and (ii) the amount of the increase or decrease
           in the Posted Chapter 13 Trustee Fee that is caused by the change.

           (ii)   The Posted Chapter 13 Trustee Fee is the percentage fee established by the Court
           and posted on the Court’s web site from time to time4.




1 This is the month in which the first payment is due for this amount. The Debtor(s) must commence payments not
later than 30 days after the petition date.
2   The total amount of monthly payment includes savings and reserves.
3   Reserve funds are funds established under Paragraph 23 of this Plan.
4The Posted Chapter 13 Trustee Fee does not alter the amount of the actual trustee fee established under 28 U.S.C.
§ 586(e)(1).

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        (iii)    If a change pursuant to Paragraph 4(C), 8(a)(ii), 11(D), 20(E) or 23(B) is made and
        the monthly payment adjustment multiplied by the number of remaining months in the Plan
        is less than $100, the payment adjustments required by Paragraph 4(A) will not be made.

       B.     If a Notice of Plan Payment Adjustment is required by Paragraph 8(a)(iii), the
Debtor(s)’ payments required by Paragraph 4 of this Plan will be automatically increased by the
amount of the adjustment.

       C.      Subject to an Order to the contrary, if the on-going monthly mortgage payment
referenced in a timely filed proof of claim differs from the on-going monthly mortgage payment
scheduled in this Plan, the Trustee shall adjust the plan payment in order to reflect the on-going
monthly mortgage payment amount provided for in the proof of claim.

        D.      If a secured or priority proof of claim is not timely filed, the amounts scheduled in
this Plan will govern. If a secured or priority proof of claim is timely filed after confirmation of
this Plan, the amounts shown on the timely filed proof of claim will govern. The procedures in
Paragraph 4(C) govern monthly mortgage payment amounts.

        E.      In the event of a change in the monthly payment to the Trustee under this Plan, the
Trustee is directed to submit an amended wage withholding order or to amend any automated bank
draft procedure to satisfy the automatic increase or decrease. The Debtor(s) must implement any
appropriate amendments to any other form of payment.

       F.     Nothing in this Paragraph 4 precludes the Trustee from seeking to dismiss a case
based on a timely filed proof of claim that renders this Plan deficient.

5.     Priority Claims for Domestic Support Obligations. From the payments made by the
Debtor(s) to the Trustee, the Trustee shall pay in full all claims entitled to priority under 11 U.S.C.
§ 507(a)(1). If a timely proof of claim is filed, the actual amount of the Domestic Support
Obligation will be determined through the claims allowance process. Otherwise, the amount
scheduled in this Plan will control:

        Name of Holder          Claim      Interest        Amount       First      Last      Total
     of Domestic Support                     Rate             of      Payment    Payment
          Obligation                        Under         Estimated    of this    of this
                                             Plan          Periodic   Amount     Amount
                                                          Payment     in Mo. #   in Mo. #
None.




6.      Priority Claims (Other than Domestic Support Obligations.)

         A.     From the payments made by the Debtor(s) to the Trustee, the Trustee shall pay in
full all claims entitled to priority under 11 U.S.C. §§ 507(a)(2) through 507(a)(10). If a timely
proof of claim is filed, the actual amount of the Priority Claim will be determined through the
claims allowance process. Otherwise, the amount scheduled in this Plan will control:

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      Name of Holder          Amount of   Interest       Amount        First      Last        Total
      of Priority Claim        Priority     Rate            of       Payment    Payment
                                Claim      Under         Periodic     of this    of this
                                            Plan         Payment     Amount     Amount
                                                                     in Mo. #   in Mo. #
Robert C. Newark, III        $2,650.00 0.00%             5          $520.00     $520.00    $2,600.00




        B.      Priority Claims arising under 11 U.S.C. § 503(b)(2) shall be paid only after entry
of an order by the Bankruptcy Court approving payment of the claim. If this case is dismissed, no
Priority Claim arising under 11 U.S.C. § 503(b)(2) shall be allowed unless an application for
allowance is filed on or before 21 days after entry of the order of dismissal, and such application
is subsequently granted by the Court.

7. Secured Claims for which Collateral is Surrendered. The Debtor(s) surrender the
following collateral under this Plan:

  Name of Creditor                   Description of Collateral




        A.      Upon confirmation of this Plan, the Debtor(s) surrender the collateral and the
automatic stay under 11 U.S.C. § 362(a) is terminated as to actions against any (i) collateral that
is described in the preceding table; and (ii) escrow deposit held by the holder of a security interest
to secure payment of taxes and insurance. The automatic stay is not terminated under this
Paragraph as to any other action. The co-debtor stay under 11 U.S.C. § 1301(a) is terminated with
respect to the collateral identified in the preceding table.

        B.      Other than terminating the co-debtor stay, this Plan does not affect any co-debtor’s
rights in the collateral or the obligation of any secured creditor to act with respect to such a co-
debtor in compliance with applicable non-bankruptcy law.

       C.    The Debtor(s) and the creditor asserting a security interest against the collateral
must comply with Bankruptcy Local Rule 6007-1 with respect to the surrender of the collateral.

       D.     The rights of a secured creditor to a deficiency claim will be determined (i) in
accordance with the creditor’s allowed unsecured claim in any timely filed proof of claim; or (ii)
by separate Court order.




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       8.      Secured Claim for Claim Secured Only by a Security Interest in Real Property that
       is the Debtor(s)’ Principal Residence (Property to be Retained). For each such claim, utilize
       either A, B, or C, below:

              A.       This table sets forth the treatment of certain classes of secured creditors holding a
       claim secured only by a security interest in real property that is the Debtor(s)’ principal residence
       located at (street address, city, state).

Name of Holder of             Claims          Plan       Security         Monthly Payment         Starting   Ending          Total
 Secured Claim                              Interest    for Claim            Amount               Month #    Month
                                             Rate                                                              #
                                                                        P&I    Escrow     Total


U.S. Bank, NA
Cure Claim5               $110492.68        0.00                    Pro-Rata            ProRata   1          60        110492,68
Rule 3002.1(c) Amount
Monthly Mtg. Payment6                                               2756.97                       1          60        165418.20
Total Debt Claim


Cure Claim
Rule 3002.1(c) Amount
Monthly Mtg. Payment
Total Debt Claim


                   (i)     Payment of these amounts will constitute a cure of all defaults (existing as of the
                   petition date) of the Debtor(s)’ obligations to the holder of the secured claim.

                   (ii)     A claim secured only by a security interest in real property that is the Debtor(s)’
                   principal residence (other than the Cure Claims or Total Debt Claim set forth in the above
                   table) will be paid in accordance with the pre-petition contract. The claim includes all
                   amounts that arise post-petition and that are authorized pursuant to FED. R. BANKR. P.
                   3002.1. During the term of the Plan, these payments will be made through the Trustee in
                   accordance with the Home Mortgage Payment Procedures adopted pursuant to Bankruptcy
                   Local Rule 3015-1(b). Each holder of a claim that is paid pursuant to this Paragraph must
                   elect to either (i) apply the payments received by it to the next payment due without penalty
                   under the terms of the holder’s pre-petition note; or (ii) waive all late charges that accrue
                   after the order for relief in this case. Any holder that fails to file an affirmative election
                   within 30 days of entry of the order confirming this Plan has waived all late charges that
                   accrue after the order for relief in this case. Notwithstanding the foregoing, the holder may
                   impose a late charge that accrues following an event of default of a payment due under
                   Paragraph 4 of this Plan.


       5 In this Plan, a “Cure Claim” is the amount required to cure any existing default. A “Total Debt Claim” is a claim
       that will be fully paid during the term of the proposed Plan. As to each claim secured by a security interest, the
       Debtor(s) must propose either (i) a Cure Claim and a monthly mortgage payment; (ii) a Total Debt Claim; or (iii) in
       cases in which there is no Cure Claim, a Monthly Mortgage Payment. The amount shown as “Cure Claim” should be
       equal to the total of all amounts required to cure the mortgage.
       6   Including principal, interest, and escrow.

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       (iii)   Except as otherwise ordered by the Court, any amounts due as a result of the filing
       of a Rule 3002.1(c) Notice shall be paid after payment of all other secured and priority
       claims, but before payment of all general unsecured claims. If the payment of the amounts
       due under a Rule 3002.1(c) Notice would render the Plan deficient because of a shortfall
       of available funds, the Trustee must file a Notice of Plan Payment Adjustment to provide
       sufficient funds to pay all secured and priority claims in full.

       (iv)     Each claim secured by a security interest is designated to be in a separate class.

       (v)     The Debtor(s) must timely provide the information required by the Trustee pursuant
       to the Home Mortgage Payment Procedures.


        B. The holder of the claim secured only by a security interest in real property that is the
Debtor(s)’ principal residence has agreed to refinance the security interest and claim on the terms
set forth on the document attached as Exhibit “B”. The refinancing brings the loan current in all
respects. The terms of the loan that is being refinanced and the new loan are described below:

                                                     Old Loan                     New Loan
  Current amount owed on old loan and
  total amount borrowed on new loan
  Interest rate is fixed or variable?
  Interest rate (in %)
  Closing costs paid by Debtor(s)
  Monthly principal and interest
  payment
  Monthly required escrow deposit
  Total monthly payment of principal,
  interest and escrow

       (i)   Upon confirmation of this Plan, the Debtor(s) are authorized to execute conforming
       documents with the holder of the security interest.

       (ii)   Payments made to the above referenced holder will be paid (check one, only if
       Debtor(s) have checked option B, above):

                         Through the Trustee.

                         Directly to the holder of the claim, by the Debtor(s). The holder of the
                         claim may not impose any attorney’s fees, inspection costs, appraisal costs
                         or any other charges (other than principal, interest and ad valorem tax and
                         property insurance escrows) if such charges arose (in whole or in part)
                         during the period (i) when the case is open; (ii) after the closing of the
                         refinanced loan; and (iii) prior to a modification of this Plan (i.e., following
                         a default by the Debtor(s) in payments to the holder of the claim) pursuant

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                       to which the Debtor(s) commence payments through the Trustee to the
                       holder of the claim secured solely by a security interest in the Debtor(s)’
                       principal residence. If the Debtor(s) default in direct payments following
                       the refinancing, a proposed modification of this Plan must be filed.

       C.      The following table sets forth the treatment of certain classes of secured creditors
holding a claim secured only by a security interest in real property that is the Debtor(s)’ principal
residence.

       Name of Holder of Lien to which this
       provision applies
       Address of Principal Residence
       Debtor(s)’ Stated Value of Principal
       Residence                                       $__________________________
       Description of all Liens Senior in Estimated Amount
       Priority (List Holder and Priority) Owed on This Lien




              Total Owed—All Senior Liens

       (i)      The Debtor(s) allege that the total amount of debt secured by liens that are senior
       in priority to the lien held by __________________ exceeds the total value of the principal
       residence. Accordingly, the claim will receive (i) no distributions as a secured claim; and
       (ii) distributions as an unsecured claim only in accordance with applicable law.

       (ii)    Upon the Debtor(s)’ completion of all payments set forth in this Plan, the holder of
       the lien is required to execute and record a full and unequivocal release of its liens,
       encumbrances and security interests secured by the principal residence and to provide a
       copy of the release to the Debtor(s) and their counsel. Notwithstanding the foregoing, the
       holder of a lien that secures post-petition homeowners’ association fees and assessments
       will be allowed to retain its lien, but only to secure (i) post-petition assessments; and (ii)
       other post-petition amounts, such as legal fees, if such other post-petition amounts are (a)
       incurred with respect to post-petition fees and assessments; and (b) approved by the Court,
       if incurred during the pendency of the bankruptcy case.

       (iii)  This Paragraph 8C will only be effective if the Debtor(s) perform each of the
       following:

               (a)     Mail a “Lien Stripping Notice,” in the form set forth on the Court’s website,
                       to the holder of the lien that is governed by this Paragraph 8C. The Lien
                       Stripping Notice must be mailed in a separate envelope from any other
                       document. Service must be in a manner authorized by FED. R. BANKR. P.
                       7004.


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                   (b)     File a certificate of service at least 7 days prior to confirmation reflecting
                           that the Lien Stripping Notice was mailed by both certified mail, return
                           receipt requested and by regular US mail to the holder of the lien on all of
                           the following, with the mailings occurring not later than 31 days prior to the
                           hearing on this Plan:

                           The holder at the address for notices shown on any proof of claim filed by
                           the holder and in accordance with FED. R. BANKR. P. 7004.

                           Any attorney representing the holder who has filed a request for notice in
                           this bankruptcy case.

          (iv)     Third party costs incurred on behalf of the Debtor(s) such as the costs of performing
          a title or lien search or serving the motion and notices will be borne by the Debtor(s). If
          such third party costs are advanced by Debtor(s)’ counsel, the Debtor(s) must promptly
          reimburse such costs, without the need for any further application or order.

9.      Debt Incurred (a) within 910 Days Preceding Petition Date and Secured by a Lien on
a Motor Vehicle or (b) within 1 Year Preceding Petition Date and Secured by Other
Collateral for Which Full Payment, with Interest, is Required by 11 U.S.C. § 1325(a)(9)
(hanging Paragraph). The following table sets forth each class of creditors holding a claim for a
debt incurred within 910 days preceding the petition date and secured by a security interest on a
motor vehicle or for a debt incurred within 1 year preceding the petition date and secured by a
security interest on other collateral for which full payment is required by 11 U.S.C. § 1325(a)(9)
(hanging Paragraph).

     Name of Holder      Claim       Plan       Security       Monthly        Starting     Ending         Total
    of Secured Claim               Interest    for Claim       Payment        Month #      Month #
                                    Rate                       Amount



Cure Claim7
Monthly Contract Pmt.
Total Debt Claim




Cure Claim
Monthly Contract Pmt.
Total Debt Claim




Cure Claim
Monthly Contract Pmt.
Total Debt Claim



7 In this Plan, a “Cure Claim” is the amount required to cure any existing default. A “Total Debt Claim” is a claim
that will be fully paid during the term of the proposed Plan. As to each claim secured by a security interest, the

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         A.      Payment of the amounts required in this section constitutes a cure of all defaults
 (existing as of the date this Plan is confirmed) of the Debtor(s)’ obligations to the holder of the
 claim. If the monthly payment in the proposed Plan is less than the amount of the adequate
 protection payment ordered in this case, the actual payment will be the amount of the monthly
 adequate protection payment.

           B.       Each claim secured by a security interest is designated to be in a separate class.

 10.       Secured Debts on Which There is No Default and to be Paid Directly by the Debtor(s).

        A.      The claims held by the following secured creditors will be paid by the Debtor(s)
 (and not paid through the Trustee) in accordance with the pre-petition contracts between the
 Debtor(s) and the holder of the claim secured by a security interest:


     Name of Holder      Collateral for       Total Claim       Collateral      Contract    Monthly      Date
                         Claim                on Petition       Value on        Interest    Payment      Last
                                              Date              Petition Date   Rate                     Payment
                                                                                                         is Due




           B.       Each claim secured by a security interest is designated to be in a separate class.

 11.    Other Secured Claims (Property to be Retained). Payments on these claims will be
 made through the Trustee. The secured claims treated by this Paragraph are in the following table:

Name of     Claim     Collateral     Plan      Security     Monthly Payment Amount         Starting   Ending   Total
Holder                 Value       Interest      for                                       Month #    Month
   of                               Rate        Claim                                                   #
                                                            P&I    Escrow8      Total
Secured
 Claim



Cure
Claim9
Monthly
Contract
Pmt.




 Debtor(s) must propose either (i) a Cure Claim and a Monthly Contract Payment; (ii) a Total Debt Claim; or (iii) in
 cases in which there is no Cure Claim, a Monthly Contractual Payment.
 8 Only applicable if an escrow for ad valorem taxes or property insurance has been required by the holder of the

 security interest. If the collateral is a vehicle or other personal property, the “Escrow” amount should be $0.00.
 9 In this Plan, a “Cure Claim” is the amount required to cure any existing default. A “Total Debt Claim” is a claim
 that will be fully paid during the term of the proposed Plan. As to each claim secured by a security interest, the
 Debtor(s) must propose either (i) a Cure Claim and a Monthly Contract Payment; (ii) a Total Debt Claim; or (iii) in
 cases in which there is no Cure Claim, a Monthly Contractual Payment.

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Name of       Claim    Collateral     Plan     Security   Monthly Payment Amount   Starting   Ending   Total
Holder                  Value       Interest     for                               Month #    Month
   of                                Rate       Claim                                           #
                                                          P&I   Escrow8    Total
Secured
 Claim
Total Debt
Claim


         A.       The amount of secured claim to be paid under this Plan is the lesser of the amount
 listed above as the “Collateral Value” and the allowed amount of the claim. If a timely proof of
 claim is filed, the amount of the claim will be determined through the claims allowance process.
 Otherwise, the amount scheduled in this Plan will control. If the Court orders a different amount
 than is shown above as “Collateral Value,” the Plan shall be deemed amended to reflect that
 Collateral Value without the requirement of the filing of an amended Plan.

        B.      The amount listed as “Escrow” will be adjusted to reflect 1/12th of the annual ad
 valorem taxes and property insurance that is escrowed. If there is an escrow shortage (for a RESPA
 Reserve or otherwise), the shortage is included in the Cure Claim listed above.

         C.      Payment of the amounts required in this section constitutes a cure of all defaults
 (existing as of the date this Plan is confirmed) of the Debtor(s)’ obligations to the holder of the
 secured claim. If the monthly payment in the proposed Plan is less than the amount of the adequate
 protection payment ordered in this case, the actual payment will be the amount of the monthly
 adequate protection payment.

         D.     If the pre-petition loan documents include a provision for an escrow account, the
 actual monthly payment is adjustable only in accordance with this Paragraph. The Home Mortgage
 Payment Procedures must be followed, even though the claims treated in this Paragraph are not
 secured by the Debtor(s)’ principal residence.

             E.       Each claim secured by a security interest is designated to be in a separate class.

 12.      Modification of Stay and Lien Retention. The automatic stay is modified to allow
 holders of secured claims to send the Debtor(s): (i) monthly statements; (ii) escrow statements;
 (iii) payment change notices; and (iv) such other routine and customary notices as are sent to
 borrowers who are not in default. The preceding sentence does not authorize the sending of any
 (i) demand letters; (ii) demands for payment; (iii) notices of actual or pending default. The holder
 of an Allowed Secured Claim that is proposed to be paid under this Plan shall retain its lien until
 the earlier of (i) the payment of the underlying debt as determined under non-bankruptcy law; or
 (ii) the entry of a discharge under 11 U.S.C. § 1328. The holder of a claim secured by a valid lien
 may enforce its lien only if the stay is modified under 11 U.S.C. § 362 to allow such enforcement.

 13.    Maintenance of Taxes and Insurance. The Debtor(s) must pay all ad valorem property
 taxes on property that is proposed to be retained under this Plan, with payment made in accordance
 with applicable non-bankruptcy law not later than the last date on which such taxes may be paid
 without penalty. The Debtor(s) must maintain insurance on all property that serves to secure a
 loan and that is proposed to be retained under this Plan, as required by the underlying loan
 documents. This Paragraph 13 does not apply to the extent that taxes and insurance are escrowed.

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Any holder of a secured claim may request in writing, and the Debtor(s) must promptly provide
proof of compliance with this Paragraph. If the Debtor(s) fail to provide such proof within 30 days
of receipt of a written request, the holder of the debt secured by a lien on the property may purchase
such insurance or pay such taxes in accordance with its rights under applicable non-bankruptcy
law. Unless otherwise ordered by the Court, payment under this Paragraph may not be undertaken
by a transfer of the tax lien on the property.

14.    Secured Claims Satisfied by Transfer of Real Property in Satisfaction of Secured
Claim.

        A.      The secured claims set forth in this table will be satisfied by the transfer of title to
the real property from the Debtor(s) to the transferee identified below.

 Priority                              Name and Address of Holder of   Estimated Claim of Lien Holder
                                       Security Interest
 First lien
 Second lien
 Third lien
 Fourth lien

        B.       The Transferee is _____________________.

        C.       The value to be credited to the Transferee’s claim secured by the lien is:

        Value of property                                    $
        Total amounts owed to all holders of senior liens    $
        Net value to be credited by Transferee               $

      D.    The address and legal description of the property to be transferred is
_____________________.

        E.      This Paragraph applies only if 100% of the property to be transferred is included in
the estate under 11 U.S.C. § 541(a), including without limitation community property included in
the estate by 11 U.S.C. § 541(a)(2).

        F.       On or after the 30th day following entry of an order confirming this Plan:

        (i)     The Debtor(s) shall file as soon as practicable, a Notice of Transfer Pursuant to
        Bankruptcy Plan in the real property records of the County in which the property is located.
        A Notice of Transfer Pursuant to Bankruptcy Plan that attaches a certified copy of this Plan
        and a certified copy of the Order confirming this Plan shall, when filed with a legal
        description of the property in the real property records of the County in which the property
        is located, constitute a transfer of ownership of the property to the holder of the Secured
        Claim. The transfer will be effective upon the later to occur of (i) the filing of the Notice
        of Transfer Pursuant to Bankruptcy Plan that attaches a certified copy of this Plan and a
        certified copy of the Order confirming the Plan in the real property records of the applicable
        County; or (ii) if the Order is stayed pending appeal, the termination of the stay.



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           (ii)     The transferee of the transferred property must credit its claim with the Net Value
           to be credited by Transferee as shown in the preceding table (unless a different amount is
           ordered by the Court at the confirmation hearing on this Plan), not to exceed the balance
           owed on the claim on the date of the transfer. If the transfer is to the holder of a junior lien,
           the transfer is made subject to all senior liens. The holder of any senior lien may exercise
           its rights in accordance with applicable non-bankruptcy law. If the transfer is to the holder
           of a senior lien, the transfer is free and clear of the rights of the holder of any junior lien.10

           (iii)   The senior liens must be satisfied, if at all, out of the property in accordance with
           applicable non-bankruptcy law. The transfer to the transferee and the relief granted by this
           Paragraph are in full satisfaction of the Debtor(s)’ obligations to any holder of a security
           interest that is senior in priority to the security interest held by the transferee. No further
           payments by the Debtor(s) are required.

           (iv)   The automatic stay is modified to allow any holder of a security interest or other
           lien on the property to exercise all of its rights against the property in accordance with
           applicable non-bankruptcy law.

           G.        Notwithstanding the foregoing Section F:

           (i)     At its sole election prior to the 30th day following entry of an order confirming this
           Plan, the transferee may demand in writing, and the Debtor(s) must execute, a special
           warranty deed transferring the property to the transferee.

           (ii)    At its sole election prior to the 30th day following entry of an order confirming this
           Plan, the transferee may elect in writing to foreclose its security interest in the subject
           property. Any foreclosure must be completed within 90 days following entry of an order
           confirming this Plan. This Plan, the order confirming this Plan and a proper election
           hereunder constitute a judicial authorization to proceed to foreclose to the extent required
           under applicable law. If an election is made under this subsection, the transferee shall be
           responsible for all loss associated with the property and all charges, liens, fees, etc. against
           the property from the 30th day following entry of an order confirming this Plan.

           (iii)  If a proper demand is made under this Section G, the provisions of Section F(i) are
           not applicable.

       H.      On and after the date on which the title to the real property (as reflected in the real
property records) is not held by the Debtor(s), and except as otherwise agreed in writing between
the Debtor(s) and the holder of the entity to which the property has been transferred, the Debtor(s)
will immediately vacate the property.

         I.     The third party costs incurred on behalf of the Debtor(s) to obtain a lien search or
title report and to file the Notice and certified copies will be borne by the Debtor(s). If such third
party costs are advanced by Debtor(s)’ counsel, the Debtor(s) must promptly reimburse such costs.




10   The property may not be transferred to the holder of an oversecured senior lien if there is a junior lien.

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        J.      The Debtor(s) must file a certificate of service at least 7 days prior to Plan
confirmation reflecting that a copy of this Plan was mailed by both certified mail, return receipt
requested and by regular US mail to all of the following, with the mailings to have occurred not
later than 31 days prior to the hearing on this Plan to:

               (i)     Any attorney representing the holder of any security interest against the
                       property who has filed a request for notice in this bankruptcy case.

               (ii)    The holder of any security interest against the property, in accordance with
                       FED. R. BANKR. P. 7004 and the address for notice shown on any proof of
                       claim filed by a holder. The identities of the holders must be identified from
                       the deeds of trust filed in the real property records.

15.      Secured Claims on Which Lien is Avoided Under 11 U.S.C. § 522(f). To the extent that
the property described in this Paragraph is exempted under 11 U.S.C. § 522(b)(1), the following
secured claims are avoided pursuant to 11 U.S.C. § 522(f) of the Bankruptcy Code. The only
amount securing any such avoided lien is the lesser of (i) the amount shown as Remaining Value
in this table; and (ii) the amount of the Allowed Claim secured by the lien:

 Description of       Name and         Value of       Amount of          Amount      Remaining
 Property             Address of       Property       Secured            Claimed     Value
                      Secured                         Claims Senior      as
                      Creditor                        to Secured         Exempt
                                                      Claim to be
                                                      Avoided




16.    Specially Classified Unsecured Claims. The following unsecured claims will be treated
as described below:

 Name of Unsecured Creditor        Treatment and Reason for Special Classification




17.    Unsecured Claims. Unsecured creditors not entitled to priority and not specially classified
in Paragraph 16 shall comprise a single class of creditors. Allowed claims under this Paragraph
17 shall be paid a pro rata share of the amount remaining after payment of all secured, priority,
and specially classified unsecured claims.

18.    Executory Contracts. Except as set forth elsewhere in this Plan or in the following
sentence, all executory contracts are rejected. The following contracts are assumed with the
amount and timing of any cure payments as shown:




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      Parties to Executory         Amount of Cure         Cure to be Made Directly by the Debtor(s) in
            Contract                ($0.00 if none)       equal Monthly Installments of this Amount,
                                                         with the First Installment Due on the 30th Day
                                                          Following Entry of the Confirmation Order




19.      Asset Sales. The Debtor(s) are authorized—without the need for further Court order
(except as provided by FED. R. BANKR. P. 2014 if applicable)—to sell their exempt property in
accordance with this Paragraph. Any such sale shall provide for the full payment, at closing, of
all liens on the property that is sold. If the Debtor(s) request and the Court so determines, an order
confirming this authority may be granted by the Court, ex parte. Within 14 days following the
closing of any sale of real property pursuant to this Paragraph, the Debtor(s) must provide to the
Trustee a copy of the final closing statement. Any non-exempt proceeds received from the sale
must be paid to the Trustee. Unless the sale was privately closed, the closing statement must be
the statement issued by the title company or closing agent handling the sale. If the property that
was sold was exempted as a homestead solely under Texas law, any proceeds of the sale that are
not reinvested in a qualifying Texas homestead within 6 months of the closing of the sale must be
paid to the Trustee within 14 days after the expiration of the 6-month period. If only a portion of
the proceeds are reinvested in a qualifying Texas homestead prior to the expiration of the 6-month
period, the balance of the proceeds must be paid to the Trustee within 14 days of the closing.

20.    Surrender of Collateral during the Plan Period.

        A.      The Debtor(s) may surrender collateral to a secured creditor after confirmation of
the Plan by filing a Surrender Notice in the form set forth on the Court’s website. The Surrender
Notice will be effective upon the expiration of 21 days from the date that it is filed; provided, if an
objection to the Surrender Notice is filed within the 21-day period, the Surrender Notice will
become effective only upon entry of a Court order approving the Surrender Notice (the “Effective
Date”). If a timely objection is filed, the Trustee will schedule the Surrender Notice for hearing
on the next available Chapter 13 panel date. On the Effective Date, the automatic stay under 11
U.S.C. § 362(a) and the co-debtor stay under 11 U.S.C. § 1301(a) are terminated as to actions
against surrendered property. The automatic stay is not terminated under this Paragraph as to any
other action.

       B.      Bankruptcy Local Rule 6007-1 applies to the surrender of property under this Plan.

        C.      Other than terminating the co-debtor stay, this Plan does not affect any co-debtor’s
rights in the collateral or the obligation of any secured creditor to act with respect to such a co-
debtor in compliance with applicable non-bankruptcy law.

       D.      If payments on debt secured by the surrendered property were made through the
Trustee, a Debtor(s)’ Proposed Notice of Plan Payment Adjustment, in the form set forth on the
Court’s website, must be filed as an exhibit to the Surrender Notice. If the Trustee determines that
the Debtor’s Proposed Notice of Payment Adjustment is materially inconsistent with the following
Paragraph, the Trustee must file a Trustee’s Corrected Notice of Plan Payment Adjustment. Any
such Corrected Notice must be filed within 30 days after the filing of the Debtor(s)’ Proposed

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Notice of Plan Adjustment. The Trustee’s Corrected Notice of Plan Payment Adjustment will be
binding unless a party-in-interest files a motion and obtains an order to the contrary.

        E.     If the payment on the debt secured by the surrendered property was made through
the Trustee, the Plan payment will be adjusted. The adjusted payment will be effective with the
next payment due to the Trustee after the Effective Date. The Plan payment adjustment will be a
reduction equal to (i) the sum of (a) all remaining principal, interest and escrow payments that are
due under this Plan after the Effective Date and payable to the holder of the secured debt; plus (b)
any Reserves required by Paragraph 23 for the payment of ad valorem taxes pertaining to the
surrendered property; plus (c) the Posted Chapter 13 trustee fee applicable to the sum of such
remaining payments of principal, interest, escrow and reserves; divided by (ii) the remaining
number of monthly payments due under the Plan after the Effective Date. No further ad valorem
tax reserves will be established on surrendered property.

        F.      On the Effective Date, no additional direct or Trustee payments will be made on
the claim secured by the surrendered property. The rights of a secured creditor to a deficiency
claim will be determined (i) in accordance with the creditor’s allowed unsecured claim in any
timely filed proof of claim; or (ii) by separate Court order.

           G.    Within 14 days of the Effective Date, the Debtor(s) must file an amended Schedule
I and J.

21.    Payments Under Plan. For the purposes of 11 U.S.C. § 1328(a) of the Bankruptcy Code,
the Debtor(s) will have completed all payments under this Plan by:

           A.    Paying all amounts due under Paragraph 4 of this Plan, as adjusted by this Plan;
and

           B.    Paying all amounts due as direct payments under this Plan, as adjusted by this Plan.

22.        Emergency Savings Fund.

        A.      Line 21 of Schedule J (the Debtor(s)’ expense budget) includes a provision for an
emergency savings fund by the Debtor(s). Deposits into the Emergency Savings Fund will be
made to the Trustee. Withdrawals from the Emergency Savings Fund may be made by application
to the Court, utilizing the form application from the Court’s website. Withdrawals should be
requested only in an emergency. The form application need only be served electronically, and
only to persons subscribing to the Court’s CM/ECF electronic noticing system. An application
will be deemed granted on the 15th day after filing unless (i) an objection has been filed; or (ii) the
Court has set a hearing on the application. The Debtor(s) may request emergency consideration
of any application filed under this Paragraph. The balance, if any, in the Emergency Savings Fund
will be paid to the Debtor(s) following (i) the completion of all payments under this Plan; (ii) the
dismissal of this case; or (iii) the conversion of this case to a case under chapter 7, except under
those circumstances set forth in 11 U.S.C. § 348(f)(2).




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           B.       The deposits into the Emergency Savings Fund will be:

             Month of First Deposit     Month of Last Deposit     Amount           Total
             of this Amount             of this Amount




                                                                  TOTAL

        C.       Funds paid to the Trustee will not be credited to the Emergency Savings Fund
unless, at the time of receipt by the Trustee, the Debtor(s) are current on payments provided for in
the Plan that are to be distributed to creditors or that are to be reserved under Paragraph 23. After
funds have been credited to the Emergency Savings Fund, they may only be withdrawn in
accordance with this Paragraph.

       D.      The Debtor(s) may file a Notice reflecting any change into the Emergency Savings
Fund deposits. Unless a party-in-interest objects within 14 days of the filing of the Notice, the
Trustee must file a Notice of Plan Payment Adjustment to reflect the change.

23.   Reserves for Post-Petition Ad Valorem Taxes, Homeowners Association Fees or
Other Periodic Post-Petition Obligations. (Check One or More):

                             The Debtor(s) do not invoke this provision.

                             The Debtor(s) will reserve for post-petition ad valorem taxes. The amount
                             of each monthly reserve is shown on Schedule 2311.

                             The Debtor(s) will reserve for post-petition homeowners’ association fees.
                             The amount of each monthly reserve is shown on Schedule 23.

                             The Debtor(s) will reserve for post-petition federal income tax payments.
                             The amount of each monthly reserve is shown on Schedule 23.

                             The Debtor(s) will reserve for: _________________________________.12
                             The amount of each monthly reserve is shown on Schedule 23.

        A.     The Debtor(s)’ expense budget shown on Schedule J includes a monthly provision
for the payment of the post-petition Reserves identified above. The Debtor(s) must deposit the
monthly amount shown on Schedule J for each of the designated Reserve items with the Trustee.
Not less than 45 days before the date on which the payment is due to the taxing authority,
homeowner’s association or other person, the Debtor(s) must send a request to the Trustee, on a
form promulgated by the Trustee, requesting a disbursement from the Reserves. Copies of the
appropriate invoices or tax statements must be attached to the request. Not later than 45 days after
receipt of an appropriate request, the Trustee must pay the lesser of (i) the amount shown on the
invoices or tax statements; or (ii) the balance in the applicable Reserve. If the balance in the

11   A Schedule 23 must be attached unless no Reserves are established.
12   Reserves may not be established under this Paragraph for the payment of insurance premiums.

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applicable Reserve is less than the amount due, then the Debtor(s) are responsible for payment of
the balance due on the invoice or tax statements. The Chapter 13 Trustee’s Fee will apply to any
disbursements from the Reserves.

       B.      The Debtor(s) must file a Notice reflecting any change of the projected
disbursement amount from the applicable Reserve. Unless a party-in-interest objects within 14
days thereafter, the Trustee must file a Notice of Plan Payment Adjustment to reflect the change.

        C.      Funds paid to the Trustee will not be credited to Reserves unless, at the time of
receipt by the Trustee, the Debtor(s) are current on payments provided for in the Plan that are to
be distributed to the holders of claims. If the monthly amount credited to Reserves is less than the
total of all monthly Reserves shown above, the Trustee will apply the credits to the Reserves pro
rata. After funds have been credited to an applicable Reserve, they may only be withdrawn in
accordance with this Paragraph.

        D.       If this Plan provides for payment of a “Total Debt Claim” on real property and no
lender-established escrow account is maintained, the Debtor(s) must establish Reserves under this
Paragraph for the payment of ad valorem taxes. If the Debtor(s) subsequently surrender the real
property, or if the automatic stay is terminated as to the real property, the amount of Reserves for
taxes on such property will be paid by the Trustee, without further Court Order, to the holder of
the claim secured by the most senior security interest against the real property.

        E.     Upon completion of all payments under this Plan, the remaining balance on hand
in the Reserves will be paid to the Debtor(s).

24.     Effect of a Motion to Convert to Chapter 7. If, during the term of this Plan, the Debtor(s)
file a motion to convert this case to a case under Chapter 7 of the Bankruptcy Code, the motion
may be included with a request to distribute to Debtor(s)’ counsel the lesser of (i) the amount
agreed between the Debtor(s) and Debtor(s)’ counsel; and (ii) $750.00. If a motion to convert to
chapter 7 has been filed and not yet granted by the Court, the Trustee must, within 35 days of the
date on which the motion was filed, distribute any remaining funds (exclusive of Reserves and
Emergency Savings Funds) (i) first to pay any unpaid adequate protection payments due to the
holders of secured claims; and (ii) thereafter, the amount requested (not to exceed $750.00) to
Debtor’s counsel for post-conversion services. Any amounts so distributed are subject to
disgorgement if ordered by the Court. A motion to convert filed pursuant to this Paragraph 24
must be filed with a proposed order, in the form published on the Court’s website. The Order, if
submitted in accordance with this Paragraph, may be issued ex parte and without notice.

25.    Presence or Absence of a Proof of Claim.

       A.      Secured and priority claims provided for in this Plan will be paid without the
necessity of the filing of a proof of claim. If this Plan sets the amount of a monthly payment,
monthly payments will be adjusted in accordance with the Court’s Home Mortgage Payment
Procedures as applied by Paragraphs 8 and 11 of this Plan.

       B.     Unless otherwise ordered by the Court (and subject to the claims objection process),
the amounts shown on a timely filed proof of claim govern as to (i) the amount of that claim, (ii)
the amount of any cure amount; and (iii) the amount of any monthly payment, which monthly

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payment is subject to adjustment in accordance with the Court’s Home Mortgage Payment
Procedures as applied by Paragraphs 8 and 11 of this Plan.

        C.      Regardless of the filing of a proof of claim, the valuation in this Plan of the
collateral securing a claim controls over any contrary proof of claim.

       D.      A determination made under this Plan as to a claim does not constitute an order
allowing or disallowing a claim against the estate for purposes of Rule 3008 or otherwise.

        E.     Unless the Court orders otherwise, no general unsecured claim will be paid unless
a proof of claim has been timely filed.

       F.      The payment of Debtor(s)’ attorney’s fees are not governed by this Paragraph.

       G.      No creditor, before or after completion of the Plan, shall be allowed to collect any
payments, costs, fees, or expenses, from the Debtor(s), the estate, or their property, that are not
provided for in this Plan.

26.     Discharge and Vesting of Property. The Debtor(s) will be granted a discharge in
accordance with 11 U.S.C. § 1328. Property of the estate shall vest in the Debtor(s) upon entry of
the discharge order.

27.    Effect of Dismissal. If this case is dismissed:

       A.      Except for Paragraph 27(B), this Plan is no longer effective.

        B.     Any funds received by the Trustee after entry of the order of dismissal will be paid
to the Debtor(s).

28.     Plan Not Altered from Official Form. By filing this Plan, Debtor(s) and their counsel
represent that the Plan is in the official form authorized by the Court. There are no addenda or
other changes made to the official form, except those contained in Paragraph 29.

29.    Non-standard Provisions. ______________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
____________________________________________________________________________.
Except for provisions contained in Paragraph 29, any provision not contained in the approved
Southern District of Texas Chapter 13 Plan is void. Any provision contained in this Paragraph
29 is void unless Paragraph 1 of this Plan indicates that a non-standard provision has been
included in this Plan.




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                                            Submitted by

                                            /s/ Jzavela-Arethea Dougherty
                                            Debtor Signature

                                            ________________________________________
                                            Joint Debtor Signature


                                              /s/ Robert C. Newark, III
                                              Robert C. Newark, III, SBN: 24040097
                                              1341 W. Mockingbird Lane, Ste. 600W
                                              Dallas, TX 75257
                                              Telephone: 866.230.7236
                                              Facsimile: 888.316.3398
                                              office@newarkfirm.com
                                              ATTORNEY FOR DEBTOR



                    Debtor(s)’ Declaration Pursuant to 28 U.S.C. § 1746

      I declare under penalty of perjury that the foregoing statements of value contained in this
document are true and correct.

Dated:_2/19/2019                     /s/ Jzavela-Arethea Dougherty
                                             Signature of Debtor
Dated:____________                   _________________________________________
                                             Signature of Joint Debtor




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                                          Schedule 23
Month      Ad Valorem Tax   HOA Reserve     Federal Income Tax   Other Reserves   Total Reserves This
               Reserve                           Reserve                                Month
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2
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